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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                  :

        v.                                     : Crim. No. 18-0388(RDM)


CHARESE JOHNSON,                               : Motions Hrng: February 20, 2020
      Defendant


     MOTION IN LIMINE TO EXCLUDE GOVERNMENT FROM INTRODUCING
           SPECIFIC TRIAL EXHIBITS TO BE IDENTIFIED HEREIN

   Ms. Charese Johnson, through undersigned counsel, respectfully requests that this Court

exclude certain items of evidence/purposed Trial Exhibits that the government seeks to make

part of its trial presentation in the above captioned matter. The trial is currently scheduled to

take place on April 20, 2020. It is the defenses position that the evidence that Ms. Johnson seeks

exclusion of should be excluded under Federal Rule of Evidence 401, 402, 403 or 801. In this

pleading, counsel will discuss each item of evidence separately and articulate the defenses

specific objection to that particular exhibit. In support of this motion counsel states the

following upon information and belief:

   1.        Ms. Johnson is before the Court charged by way of a three-count Superseding

             Indictment with three separate counts of aiding and assisting in the preparation of a

             false tax return. Trial in this matter is scheduled to take place on April 20, 2020.

   2.        At a hearing in this matter on November 15, 2019, the Court ordered that motions be

             filed by January 22, 2020, and that all oppositions be submitted by January 31, 2020.

   3.        In Dkt. 99 undersigned counsel notified the Court of Ms. Johnson’s intent to litigate




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         any motions that have been filed and not yet resolved by this Court and respectfully

         requested leave of the Court to file any additional in limine motions by February 5,

         2020. As of the time of that pleading counsel had not received the government’s

         final exhibit list and wanted to review those exhibits before filing in limine motions.

         The government did not oppose that request.

4.       Counsel is now in possession of the government’s proposed exhibits, disclosed on a

         CD containing approximately eighty-five exhibits, and wishes to alert the Court in

         this in limine pleading of Ms. Johnson’s objections.

5.       A previous Motion in limine was filed on October 20, 2019, by prior counsel of

         record [Dkt. 63]. In that motion prior counsel sought to exclude Ms. Johnson’s

         college transcripts (Government’s Exhibit 66 and 67), a job application

         (Government’s Exhibit 68), and IRS Systemic History (Government’s Exhibit

         27). Counsel hereby renews arguments made in Dkt. 63, concerning the

         admissibility of Government’s 27 and 66 – 68, and respectfully requests the

         opportunity to be briefly heard at the scheduled motions hearing in this matter should

         an additional basis to challenge that evidence arise.



                         Memorandum of Points and Authorities

I.      Hearsay Evidence

     Hearsay is a statement, other than one made by the declarant while testifying at the trial,

offered in evidence to prove the truth of the matter asserted. Fed. R. Evid. 801. The problem

with hearsay is that it deprives the defendant of the opportunity to cross-examine the person




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   who uttered the statement at issue. United States v. Evans, 216 F. 3d 80(2000). Some of the

   documents for which the government seeks admission can also be categorized as business

   and public records, which are generally admissible in criminal trials, without the opportunity

   to confront because they have been created for the administration of an entities affairs, and

   not for the purpose of establishing some fact at trial. Melendez-Diaz v. Massachusetts, 129

   S. Ct. 2527, 2539 (2004). If a business record is testimonial in nature – that is, if it has been

   prepared at least in part for “the purpose of establishing or proving some fact at trial” – then

   the record is not admissible unless the defendant has the opportunity to confront the

   declarant. Id. at 2540.

       Sometimes courts excuse the use of hearsay evidence for the purpose of establishing a

   background where the evidence relates to an uncontroverted matter and hearsay is the most

   efficient means of transmitting the information and where there is little chance of prejudice to

   the defendant. Evans, 216 F. 3d at 15. Where these conditions are not met, the government

   must prove background information the same way it would any other relevant set of facts. Id.

   Not every use of hearsay violates the Confrontation Clause – where proffered hearsay

   evidence has sufficient guarantees of reliability to come within a firmly rooted exception to

   the hearsay rule, the Confrontation Clause is satisfied. Id.

       Counsel objects to the admission of the following exhibits because they are or contain

   inadmissible hearsay.

Exhibit #28_1

The first two pages of this exhibit are handwritten notes authored by Maria Moore, Ms.
Johnson’s former codefendant, addressed to “To Whom It May Concern”. The next part of the
exhibit contains documents addressed to either Johnny Moore or Maria Moore. This exhibit



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contains hearsay and is not admissible on that basis.
Exhibit #29_3

        Exhibit 29_3 contains a letter that appears to be signed by Johnny Andrews Moore
regarding a 2012 IRS Form 1041 filing and addressed to W. Stark. Ms. Johnson apparently
notarizes this letter. This letter contains hearsay and its contents are not relevant to the
independent case against Ms. Johnson.

Exhibit #18

        Exhibit 18 contains an Account Narrative History. This exhibit is hearsay that should not
be admitted unless the contributors to the conversation summarized in the narrative are made
available for cross-examination. Counsel additionally argues that the summary in this exhibit
concerns Johnny Moore’s IRS Form 1099 for Tax Year 2012. The allegations as they relate to
Mr. Moore and Ms. Johnson’s conduct, in the instant indictment, concern Tax Year 2011 and the
approximate filing dates of February 18, 2014 and March 13, 2014. This summary and exhibit is
seemingly irrelevant.

Exhibit #78-80

        These exhibits are various drafts of a letter that was apparently authored by Hiltrud
Steimel. Ms. Johnson is briefly mentioned in the letter. The letter is hearsay and the
overwhelming majority of its contents are not relevant to the case against Ms. Johnson and
therefore have no probative value.

Exhibit #118

        This exhibit is comprised of a Performance Evaluation from The Community College of
Baltimore County. This evaluation contains hearsay in that it is made up of the observations of
Ms. Johnson by her supervisors. Additionally, the evaluation period begins after the conduct
relevant to this case, and is there for irrelevant.




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    II.      Irrelevant or Unfairly Prejudicial Evidence

          Evidence is relevant if it has any tendency to make a fact more or less probable than it

would be without the evidence and the fact is of consequence in determining the action. Fed. R.

Evid. 401. Irrelevant evidence is not admissible. Fed. R. Evid. 402. Additionally, the court may

exclude relevant evidence if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence. Fed. R. Evid. 403. Counsel

contends that the following items of government evidence are either not relevant or lack

sufficient probative value and should therefore be excluded.

Exhibit #13

          This exhibit contains an account transcript for the Tax Period of December 31, 2012, for
Johnny Moore and Created In His Image Express TR. Counsel argues that this transcript is not
relevant as it concerns returns for a tax year not at issue for a party that is related to the case.
Additionally, counsel would argue that there is a significant danger that this evidence would
contribute to issue confusion.


Exhibit #19

          This exhibit contains a screen shot of information related to Treasury Check Information
System (TCIS) concerning a payment in the amount of $527,425.87, paid to Created in His
Image Express TR/Johnny Andrews Moore. The check is dated April 22, 2014. It is unclear
what Tax Year this payment pertains to, but the payments at issue in the indictment, as they
relate to Mr. Moore, are $416,200 (February 18, 2014) and $280,000 (March 13, 2014). The total
reflected in the check at issue in this exhibit does not appear to be relevant to the charges in the
current indictment.




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Exhibit #20

       This exhibit is made up of an application by Johnny and Maria Moore for Post Office
Box Number – 15428. The date of the application is January 17, 2012. This exhibit is irrelevant
to Ms. Johnson’s case and should be excluded.



                                            Respectfully Submitted,

                                            _________/s/__________________

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served by ECF, this 5th day of
February 2020 to all counsel of record.

                                                   /s/
                                            ________________________
                                            Joseph P. Caleb




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